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                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                          Expert Report of Ryan D. Williamson, Ph.D.
                                Milligan, et al., v. Merrill, et al.
                                      December 10, 2021

Background and Qualifications

I am an Assistant Professor of Political Science in the Department of Political Science at Auburn
University in Auburn, Alabama. I have held this position since 2018. My areas of expertise include
American government, electoral politics, electoral administration, legislative politics and
procedure, and statistical methods in social sciences.

At Auburn, I teach courses on a variety of topics related to American politics including election
administration reform policy, voting behavior and representation, and electoral institutions. I also
serve on the dissertation committees of 11 graduate students, have participated in nearly 40
conference presentations, have given half a dozen invited talks around the country, received
multiple teaching awards, and have been awarded nearly $90,000 dollars in grants to support my
research.

Further in my capacity as an assistant professor, I have published over 20 peer-reviewed articles
and book chapters, including research in leading outlets in the field such as The Journal of Politics,
Election Law Journal, Electoral Studies, Political Research Quarterly, and State Politics & Policy
Quarterly. Of these publications, six directly address issues related to redistricting and
gerrymandering and have garnered dozens of citations in a few short years. I am also currently
serving as the associate editor of a new journal entitled Journal of Election Administration
Research and Practice, which publishes research related to how elections are administered and
how different laws and policies impact said administration.

In addition to my substantive expertise, I have extensive background and experience in statistical
analysis. My graduate training included courses in research design, probability theory, ordinary
least squares, maximum likelihood estimation, Bayesian analysis, geospatial data analysis, and
casual inference. I also attended the Inter-university Consortium for Political and Social Research
at the University of Michigan in 2013 where I took additional courses on maximum likelihood
estimation, advanced regression, and multidimensional scaling. Each of my academic publications
has required the use of statistical analysis including descriptive analysis, geospatial analysis,
ordinary least squares, maximum likelihood estimation, time series data, panel data, survey data,
and experimental designs. Furthermore, I am responsible for teaching the research methods course
for the Master of Public Administration program at Auburn University.

Through the relationship between Auburn University and the National Association of Election
Officials, I have been invited to give presentations and teach advanced courses to election
administrators from around the country on a range of topics including redistricting,
gerrymandering, and the constitutional law of elections.

Prior to coming to Auburn, I served as a Congressional Fellow on the United States Senate
Committee on Rules and Administration through the American Political Science Association. The




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Committee has jurisdiction over federal election administration, and my portfolio included election
administration and reform, including issues related to redistricting and gerrymandering.

I received my undergraduate degree from the University of Alabama at Birmingham in 2011,
where I studied political science and history. Upon completion of this degree, I began my graduate
studies at the University of Georgia, earning my doctoral degree in political science in 2017.
Broadly speaking, my dissertation examined the role of laws and regulations in determining
election outcomes.

My full curriculum vitae is attached to this report.

I have been retained by the Plaintiffs in this case to analyze the role that race played in drawing
the federal congressional districts within Alabama. I have not previously testified as an expert at
trial or by deposition. I am retained for a rate of $300 per hour—my standard consulting rate.

Data Acquisition

I acquired data on race and ethnicity by voting age population by congressional district, county,
and census block from the American Civil Liberties Union (“ACLU”). The ACLU informed me
that it acquired 2020 Census Block shapefiles, total population by race and ethnicity, and voting
age population by race and ethnicity directly from the Census file transfer protocol (“FTP”) portal.
The ACLU informed me that it acquired current congressional district block assignment files from
the Census website. The ACLU informed me that it then joined congressional district assignments
to the 2020 Census block shapefile.

I acquired the draft congressional plans from the ACLU, which I understand acquired them through
a member of the Alabama Permanent Legislative Committee on Reapportionment.

All summary statistics and analyses were performed using Stata version 14. Any maps were
created using R version 4.1.2.

Summary of Congressional District Analysis and Opinions

My analysis focuses on the four districts I understand have been challenged as racial gerrymanders
in this case: Alabama Congressional Districts (“CDs”) 1, 2, 3, and 7. Specifically, I have been
asked to analyze whether there is evidence that race predominated over other districting
considerations in drawing the contours of Districts 1, 2, 3, and 7. Because the allegations in this
case concern different methods of using race to draw districts—through what is informally known
as “packing” in District 7, and through what is referred to as “cracking” in Districts 1, 2, and 3—
I employ different forms of analysis appropriate to examine the role that race played in those two
different contexts. By packing, I refer to the practice of disproportionately concentrating a group
into one district. By cracking, I refer to the practice of separating groups across boundaries in order
to dilute their potential for electoral influence.

In Part 1, I examine county splits within the state with specific attention to the relationship between
these splits and the Black Voting Age Population (“VAP”) in Congressional District 7. I find



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I then compare the parts of each county in Congressional District 7 with the parts of the county
that have been split into other districts. This allows me to analyze the relationship between race
and where the splits occurred.

The part of Jefferson County drawn out of CD 7 has an average census block Black VAP of 23.8
percent. This is 25.3 percentage points lower than the county as a whole and a 45.3 percent point
difference from the part of Jefferson County that was included in CD 7. This is comparable to the
difference between Cullman County (the second lowest county in terms of Black VAP) and
Barbour County (one of the counties in the region traditionally referred to as the “Black Belt”).

The part of Montgomery County drawn out of CD 7 has an average census block Black VAP of
41.0 percent. This is 11.6 percentage points lower than the county as a whole and a 34.1 percent
point difference from the part of Montgomery County drawn into CD 7. This is comparable to
the difference between Winston County (the county with the lowest Black VAP in the state) and
Mobile County (the third largest metro area in the state).

The part of Tuscaloosa County drawn out of CD 7 has an average census block Black VAP of 9.6
percent. This is 19.0 percentage points lower than the county as a whole and a 23.9 percent point
difference from the part of Tuscaloosa County drawn into CD 7. This is comparable to the
difference between Blount County (with less than 2 percent Black VAP) and Madison County
(which houses Huntsville, another large metro area within the state).

To summarize, in each of these three counties, areas with larger Black VAP were drawn into CD
7 and the disproportionately White census blocks within each of these counties were drawn into
districts other than CD 7. These occurrences in all three counties demonstrate a pattern of race
serving as a predominant factor in the construction of district lines. That the difference in Black
VAP by census block within the same county but in different congressional districts is so
substantial makes these divergences substantively important.

In short, these analyses demonstrate that predominantly Black communities within these three
counties were drawn into Congressional District 7 while predominantly White communities within
the same three counties were drawn into other districts. This constitutes strong evidence that race
played a substantial role in the drawing of Congressional District 7.

Part 2: Districts 1, 2, and 3

Variation within Districts

As to Congressional Districts 1, 2, and 3, I examine the variability of census block Black VAP
within congressional districts to further test for allegations of “cracking.” The map below depicts
Black VAP by county. Here, darker shades of grey correspond to higher Black VAP. This shows
concentrations of Black voters in specific parts of the state. If predominantly Black counties are
drawn into areas with largely White populations, which would be suggestive of “cracking,” then I
will see substantial variability within congressional districts. Necessarily, some predominantly
Black areas will have to be connected to more White counties. However, given the racial sorting




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Furthermore, again with respect to CD 2, Bullock County and most of Montgomery County were
drawn out of the Black Belt and connected to the much Whiter Autauga County to the north and
Coffee, Covington, and Geneva to the south.

With respect to CD 3, Macon County with a Black VAP of over 80 percent was located into the
same district as Cherokee County (approximately 150 miles away), which has a Black VAP of 4.5
percent.

Additionally, we see that most of the Black Belt has been drawn into CD 7. With the exception of
the aforementioned splits in Jefferson, Montgomery, and Tuscaloosa Counties, the edges of CD 7
with the highest Black VAP occur where they meet the boundaries of CD 4, CD 6, and CD 2. This
provides further evidence that race played a major role in deciding where to split the districts.

Finally, we see that the western part of Jefferson County was split into the majority-Black district
CD 7 and the eastern part of the county was connected to Blount, Shelby, Bibb and Chilton
Counties, which contain some of the lowest Black VAPs in the state.

In totality, this provides visual evidence suggesting that race was a factor in where to draw district
lines.

Part 4: Summary and Conclusion

In conclusion, in my opinion, substantial evidence indicates that race was a significant factor that
motivated the drawing of congressional district lines in Alabama. Congressional District 7 features
a substantially larger Black VAP than any other district, created by splitting three largely Black
counties in ways that disproportionately draw areas with more Black residents into District 7.
Similarly, race appears to have played a significant role in drawing the contours of Congressional
Districts 1, 2, and 3 by dividing the area of the state traditionally referred to as the Black Belt
among these three districts, and by drawing districts lines through areas with high concentrations
of Black residents to separate those areas into multiple districts.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the forgoing is true and
correct:

Executed, this day, December 10, 2021, at Washington, District of Columbia.



________________________________________
Ryan D. Williamson, Ph.D.




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                      Ryan D. Williamson
                                              Assistant Professor   rdw0035@auburn.edu
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                                               Haley Center A   ryandwilliamson.com


Academic Positions

  Auburn University
    Assistant Professor of Political Science, 2018–present

  United States Senate Committee on Rules and Administration
     American Political Science Association Congressional Fellow, 2017-2018

Education

  2017: University of Georgia, Ph.D. Political Science
     Dissertation: Examining the Effects of Institutional Design on Electoral Outcomes
     Examination Fields: American Politics and Methodology

  2013: University of Michigan, Inter-University Consortium for Political and Social Research

  2011: University of Alabama at Birmingham, B.A. Political Science Honors, cum laude

Research and Teaching Interests

  Elections & Election Administration, Congressional Procedure & Policy, Institutional Development

Peer-Reviewed Articles

  “Elections, Competition, and Constituent Evaluations of U.S. Senators.” Conditionally Accepted
  at Electoral Studies. with Joel Sievert.

  “Redistricting and Incarceration: Examining the Effect of New York’s Prohibition on Prison
  Gerrymandering.” Accepted for publication. State Politics & Policy Quarterly. with Bridgett King.

  “Contours of a National Infrastructure Policy for the New Millennium.” 2021. Public Works
  Management & Policy. 26(3): 200-209. with John C. Morris and A. Stanley Meiburg.

  “Institutional Variation, Professionalization, and State Implementation Choices: An Examination
  of Investment in Water Quality Across the 50 States.” 2021. American Review of Public
  Administration. 51(6): 436-448. with John C. Morris and Jonathan M. Fisk.

  “Lessons from the COVID-19 Pandemic for Federalism and Infrastructure: A Call to Action.” 2021.
  Public Works Management & Policy. 26(1): 6-12. with John C. Morris.

  “Nationalization and the Incumbency Advantage.” 2020. Political Research Quarterly. 73(1):
  156–168. with Jamie Carson and Joel Sievert.



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  “Security and Integrity: Administrative Structure, Capacity, and American Elections.” 2020.
  Journal of Political Institutions and Political Economy. 1(2): 189-207. with Mitchell
  Brown and Kathleen Hale.

  “Policymaking by the Executive: Examining the Fate of Presidential Agenda Items.” 2020. Congress
  & the Presidency. 47(1): 1-31. with Jason Byers and Jamie Carson.

  “Capacity to Address Natural and Man-made Vulnerabilities: The Administrative Structure of U.S.
  Election System Security.” 2020. Election Law Journal: Rules, Politics, & Policy . 19(2):
  180-199. with Mitchell Brown, Lindsey Forson, Kathleen Hale, and Robert Smith.

  “Questions of Order in the United States Senate: Procedural Uncertainty and the Role of the
  Parliamentarian.” 2019. Social Science Quarterly. 100(4): 1343-1357. with Anthony Madonna
  and Michael Lynch.

  “Rules, Polarization, and the Future of the Senate.” 2019. PS: Political Science & Politics.
  52(2): 401-403.

  “Examining the Effects of Partisan Redistricting on Candidate Entry Decisions.” 2019. Election
  Law Journal: Rules, Politics, & Policy. 18(3): 214-226.

  “Evaluating Candidate Positioning and Success in the 2018 Midterm Elections.” 2018. The
  Forum. 16(4): 675-686.

  “Candidate Ideology and Electoral Success in Congressional Elections.” 2018. Public Choice.
  176: 175-192. with Jamie Carson.

  “The Vice President in the U.S. Senate: Examining the Consequences of Institutional Design.”
  2018. Congress & the Presidency. 45(2): 145-165. with Michael Lynch, Anthony Madonna,
  and Mark Owens.

  “Public Attitudes Toward Presidential Veto Powers.” 2018. Research & Politics. 5(1): 1-6.
  with Joel Sievert.

  “Institutional Control of Redistricting and the Geography of Representation.” 2017. Journal of
  Politics. 79(2): 722-726. with Michael Crespin, Barry Edwards, and Maxwell Palmer.

  “Re-evaluating the Effects of Redistricting on Electoral Competition, 1972-2012.” 2014. State
  Politics & Policy Quarterly. 14(2): 162-174. with Jamie Carson and Michael Crespin.

Book Chapters

  “Recent Developments in Congressional Redistricting.” 2020. In New Directions in Congressional
  Politics 2nd ed. Eds. Jamie Carson and Michael Lynch. New York: Routledge.

  “Redistricting and Electoral Competition in American Politics.” 2019. In Oxford Bibliographies in
  Political Science. Ed. Sandy Maisel. New York: Oxford University Press.




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  “Candidate Emergence in the Era of Direct Primaries.” 2018. In Handbook of Primary Elections.
  Ed. Robert Boatright. New York: Routledge. with Jamie Carson.

  “Introduction to Congressional Elections.” 2016. In Guide to U.S. Elections 7th ed. Ed. Deborah
  Kalb. Washington, DC: Congressional Quarterly Press. with Jamie Carson.

Other Publications

  “Letter to the Editor: Response to Crowley et al. 2020.” Frontiers in Ecology and the Environment.
  Accepted for Publication.

  Oklahoma Redistricting: An Empirical Assessment. Research Report for Let’s Fix This. with
  Michael Crespin, Barry Edwards, and Maxwell Palmer.

  A review of “Nixon’s FBI: Hoover, Watergate, and a Bureau in Crisis” by Melissa Graves. (Lynne
  Reinner Publishers, 2020) 2021. Political Science Quarterly 136(3): 585-586.

  A review of “Changing Cultures in Congress: From Fair Play to Power Plays” by Donald R.
  Wolfensberger (Columbia University Press, 2018) 2019. Political Science Quarterly 134(4): 736-737.

  “Electoral Politics in Georgia and Their Impact on Future Gubernatorial Races.” 2018. Presidents
  and Executive Politics Report 40(2): 18-22.

Select Working Papers

  “Interbranch Warfare: Senate Amending Process and Restrictive House Rules.” with Anthony
  Madonna. Invited to Revise & Resubmit at Political Research Quarterly.

  “Trump and Trust: Examining the Relationship between Claims of Fraud and Citizen Attitudes.”
  with Florian Justwan. Invited to Revise & Resubmit at PS: Political Science & Politics.

  “Nationalized Politics: Examining Electoral Politics Across Time.” with Jamie Carson and Joel
  Sievert. Book manuscript. Under review.

  “Promise and Performance: The Water Quality Act at Thirty.” with John C. Morris, Jan C. Hume,
  and Lien Nguyen. Under review.

  “Candidate Entry in U.S. Congressional Primary Elections, 1956 - 2018.” with Jason Byers
  and Jamie Carson.

  “Evaluating the Relationship between Redistricting Methods and Citizens’ Attitudes towards
  Government.” with Florian Justwan.

Grants and Awards

  Auburn University Student Government Association’s The Final Lecture Award Nominee
  University of Georgia Graduate School Outstanding Teaching Award
  University of Georgia Department of Political Science Excellence in Teaching Award



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  Alfred P. Sloan Foundation Grant ($49,994)
  Auburn University College of Liberal Arts New Faculty Release from Teaching Grant ($34,505)
  Auburn University College of Liberal Arts New Faculty Summer Research Grant ($6,000)
  Congressional Research Grant sponsored by the Dirksen Congressional Center ($3000)
  Southern Political Science Association Artinian Travel Award ($500)
  Southern Political Science Association Prestage-Cook Travel Award ($250)
  Richard A. Baker Graduate Student Research Travel Grant ($763)

Invited Presentations

  2021
  “Vote Choice and Electoral Politics.” Presented to the Robert Wood Johnson Foundation Health
  Policy Fellows program.

  “Redistricting and the Census in 2021.” Presented at the Election Center Special Workshop on
  Lessons Learned and Resilience Going Forward.

  2020
  “Voting in 2020: What to Expect.” Auburn University College of Liberal Arts Public Webinar.

  “Vote Choice and Electoral Politics.” Presented to the Robert Wood Johnson Foundation Health
  Policy Fellows program.

  “Security and Integrity: Administrative Structure, Capacity, and American Elections.” with Kath-
  leen Hale, Mitchell Brown, Lindsey Forson, and Robert Smith. Presented at the Election Admini-
  stration and Technology Symposium hosted by the Bedrosian Center at the University of Southern
  California Sol Price School of Public Policy.

  2019
  “Election Law Update: Redistricting and Gerrymandering.” Presented at the Election Center
  Special Workshop on Improving the Integrity of Voter Registration & Election Operations.

Conference Participation

  Presentations
  2021
  “Nationalization and Candidate Evaluations.” with Jamie Carson and Joel Sievert. Accepted for
  presentation at the 2021 Annual Meeting of the American Political Science Association.

  “Smith v. Allwright: Examining External Reform and the Electoral Connection.” with Aaron
  Hitefield and Adam Rutkowski. Presented at the 2021 Annual Meeting of the Midwest Political
  Science Association.

  “Nationalization and the Electoral Connection.” with Jamie Carson and Joel Sievert. Presented
  at the 2021 Annual Meeting of the Midwest Political Science Association.

  “State Choice vs. National Policy Goals: Loan Distribution Patterns in the Clean Water State
  Revolving Loan Fund Program.” with John Morris. Presented at the 2021 Annual Meeting of the
  Midwest Political Science Association.

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“Examining the Divergence of Foreign and Domestic Human Rights Support Within the United
States.” with Shelby Hall. Presented at the 2021 Annual Meeting of the International Studies
Association.

“Green Stimulus or Industry Bailout: Assessing the Implementation of State Well-Plugging Pro-
grams.” with Jonathan Fisk, John Morris, and Steven Nelson. Presented at the 2021 Annual
Meeting of the American Society for Public Administration.

“The Water Quality Act at Thirty: State Choice and the Clean Water State Revolving Loan
Fund.” with John Morris, Jan Hume, and Lien Nguyen. Presented at the 2021 Annual Meeting of
the Southern Political Science Association.

“Politics or Public Health? Explaining State Actions During the COVID-19 Pandemic.” with John
Morris, Jan Hume, and Martin Mayer. Presented at the 2021 Annual Meeting of the Southern
Political Science Association.

2020
“Interbranch Warfare: Senate Amending Process and Restrictive House Rules.” with Anthony
Madonna. Presented at the 2020 Annual Congress and History Conference by the University of
Wisconsin in Madison, Wisconsin.

“Evaluating the Relationship between Redistricting Methods and Citizens’ Attitudes towards Gov-
ernment.” with Florian Justwan. Accepted at the 2020 Annual Meeting of the Midwest Political
Science Association in Chicago, Illinois. (conference cancelled)

“Nationalization and Polarization in US House Elections.” with Jamie Carson and Joel Sievert.
Accepted at the 2020 Annual Meeting of the Midwest Political Science Association in Chicago,
Illinois. (conference cancelled)

“Promise and Performance: Loan Distribution Patterns in the Clean Water State Revolving Loan
Fund Program.” with John Morris, Jan Hume, and Lien Nguyen. Accepted at the 2020 Annual
Meeting of the American Society for Public Administration in Anaheim, CA. (conference cancelled)

“Should Florida Establish an Independent Redistricting Commission?” with Barry Edwards, Michael
Crespin, and Maxwell Palmer. Accepted at the 2020 Annual Meeting of the Florida Political Sci-
ence Association in Deland, Florida. (conference cancelled)

“Examining the Divergence of Foreign and Domestic Human Rights Support Within the United
States.” Accepted at the 2020 Annual Meeting of the International Studies Association in Honolulu,
Hawaii. (conference cancelled)

2019
“Constituent Evaluations of US Senators Over the Electoral Cycle.” with Joel Sievert. Presented
at the 2019 Annual Meeting of the Midwest Political Science Association in Chicago, Illinois.

“Interbranch Warfare: Senate Amending Process and Restrictive House Rules.” with Anthony
Madonna, Jordan McKissick, Laine P. Shay, and Simon Williamson. Presented at the 2019 Annual
Meeting of the Midwest Political Science Association in Chicago, Illinois.

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“Examining Exit Decisions and Their Effect on the 2018 House Elections.” with Joel Sievert. Pre-
sented at the 2019 Annual Meeting of the Southern Political Science Association in Austin, Texas.

2018
“Are Congressional Primaries Becoming as Nationalized as General Elections?” with Jason Byers
and Jamie Carson. Presented at the 2018 Annual Meeting of the American Political Science
Association in Boston, Massachusetts.

“Are Congressional Primaries Becoming as Nationalized as General Elections?” with Jason Byers
and Jamie Carson. Presented at the 2018 Annual Meeting of the Midwest Political Science
Association in Chicago, Illinois.

2017
“Challengers, Choices, and Competition in Congressional Primaries.” with Jason Byers and Jamie
Carson. Presented at the 2017 Annual Meeting of the American Political Science Association in
San Francisco, California.

“Did Party Loyalty Trump Ideology? Assessing Candidate Effects on the 2016 Elections.” with
Jason Byers, Jamie Carson, and Stephen Pettigrew. Presented at the 2017 Annual Meeting of the
Midwest Political Science Association in Chicago, Illinois.

“The Effects of House Restrictive Rules on Senate Amending.” with Anthony Madonna, Jordan
McKissick, Rory Hibbler, and Robert Oldham. Presented at the 2017 Annual Meeting of the Mid-
west Political Science Association in Chicago, Illinois.

“Constituent Evaluations of US Senators Over the Electoral Cycle.” with Joel Sievert. Presented
at the 2017 Annual Meeting of the Southern Political Science Association in New Orleans, Louisiana.

“Evaluating the Role of Coattail Effects in the 2016 Elections.” with Jason Byers and Jamie
Carson. Presented at the 2017 Annual Meeting of the Southern Political Science Association in
New Orleans, Louisiana.

2016
“Legislators, Commissioners, and Traditional Redistricting Principles.” with Barry Edwards, Michael
Crespin, and Maxwell Palmer. Presented at the 2016 Annual Meeting of the American Political
Science Association in Philadelphia, Pennsylvania.

“Legislators, Commissioners, and Traditional Redistricting Principles.” with Barry Edwards, Michael
Crespin, and Maxwell Palmer. Presented at the 2016 Annual State Politics and Policy Conference
at the University of Texas at Dallas in Richardson, Texas.

“Candidates, Money, and Polarization in U.S. House Elections, 1872-2014.” with Jamie Carson,
Mark Owens, and Joel Sievert. Presented at the 2016 Annual Congress and History Conference
at the University of Oklahoma in Norman, Oklahoma.

“Examining the Relationship Between Executive Orders and the President’s Legislative Agenda.”
with Jason Byers and Jamie Carson. Presented at the 2016 Annual Meeting of the Midwest Polit-
ical Science Association in Chicago, Illinois.

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“Do Vetoes Hurt the President?” with Joel Sievert. Presented at the 2016 Annual Meeting of the
Southern Political Science Association in San Juan, Puerto Rico.

2015
“Assessing the Rise and Development of the Incumbency Advantage in Congress.” with Jamie
Carson and Joel Sievert. Presented at the 2015 Annual Meeting of the American Political Science
Association in San Francisco, California.

“Assessing the Rise and Development of the Incumbency Advantage in Congress.” with Jamie
Carson and Joel Sievert. Presented at the 2015 Annual Congress and History Conference at Van-
derbilt University in Nashville, Tennessee.

“Dramatic Defeats, Primary Participation, and Republican Rifts: Evaluating the 2014 Midterm
Elections.” with Jamie Carson and Joel Sievert. Presented at the 2015 Annual Meeting of the
Midwest Political Science Association in Chicago, Illinois.

“Reassessing the Scare-Off Effect: Evidence from House Primary Races.” Presented at the 2015
Annual Meeting of the Midwest Political Science Association in Chicago, Illinois.

“Examining Incumbent Behavior Following Failure to Deter a Quality Challenger.” Presented at
the 2015 Annual Meeting of the Southern Political Science Association in New Orleans, Louisiana.

“Looking Beyond the Incumbency Advantage: Measuring the Effect of Challenger Ideology on
Congressional Election Outcomes.” with Jamie Carson. Presented at the 2015 Annual Meeting
of the Southern Political Science Association in New Orleans, Louisiana.

2014
“Analyzing the Effects of Redistricting on Ideology in the Post-Wesberry Era.” Presented at the
2014 Annual Meeting of the Society for Political Methodology at the University of Georgia in
Athens, Georgia.

“A Reconsideration of Disaster Declarations as an Exercise in Unilateral Power.” Presented at the
2014 Annual Meeting of the Midwest Political Science Association in Chicago, Illinois.

“A Reconsideration of Disaster Declarations as an Exercise in Unilateral Power.” Presented at the
2014 Annual Meeting of the Southern Political Science Association in New Orleans, Louisiana.

2013
“Examining the Roles of Race and Income in Partisan Self-Placement, 1966-2008.” with Joel Siev-
ert. Presented at the 2013 Annual Meeting of the Midwest Political Science Association in Chicago.

Discussant

“American Development.” 2021 Annual Meeting of the Midwest Political Science Association.

“Electoral Politics in the U.S.” 2021 Annual Meeting of the Midwest Political Science Association.




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“Environmental Policy.” 2021 Annual Meeting of the Midwest Political Science Association.

“Public Policy in the American States.” 2021 Annual Meeting of the Midwest Political Science
Association.

“Voting and Position Taking in Legislatures.” 2019 Annual Meeting of the Midwest Political
Science Association in Chicago, Illinois.

“Meet the Author: Women Officeholders and the Role Models Who Pioneered the Way.” 2019
Annual Meeting of the Southern Political Science Association in Austin, Texas.

“Analyzing Roll Calls in Congress.” 2018 Annual Meeting of the Midwest Political Science Associ-
ation in Chicago, Illinois.

“Of Geography and Gerrymandering: The Causes and Consequences of Congressional Redistrict-
ing.” 2017 Annual Meeting of the Midwest Political Science Association in Chicago, Illinois.

“New Directions in APD Research.” 2017 Annual Meeting of the Southern Political Science
Association in New Orleans, Louisiana.

“Diffusion and Policy Variation in the American States.” 2016 Annual Meeting of the Amer-
ican Political Science Association in Philadelphia, Pennsylvania.

“Executive Influence and Success.” 2016 Annual Meeting of the Midwest Political Science Associ-
ation in Chicago, Illinois.

“Floor and Pre-Floor Actions: Holds, Cosponsorships, and Amendments.” 2015 Annual Meeting
of the Southern Political Science Association in New Orleans, Louisiana.

“Legislative Politics: Elections I.” 2014 Annual Meeting of the Southern Political Science Associ-
ation in New Orleans, Louisiana.

Chair

“American Development.” 2021 Annual Meeting of the Midwest Political Science Association.

“Electoral Politics in the U.S.” 2021 Annual Meeting of the Midwest Political Science Association.

“Environmental Policy.” 2021 Annual Meeting of the Midwest Political Science Association.

“Presidents and Cabinet Politics.” 2021 Annual Meeting of the Southern Political Science
Association.

“Of Geography and Gerrymandering: The Causes and Consequences of Congressional Redistrict-
ing.” 2017 Annual Meeting of the Midwest Political Science Association in Chicago, Illinois.




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Courses Taught

   Undergraduate                                      Graduate
   Introduction to American Government                Electoral Institutions
   Introduction to American Government, Online        Voting Behavior and Representation
   Introduction to American Government, Honors        Classics in American Politics and Policy
   The Legislative Process                            Election Administration Reform Policy
   Political Parties and Interest Groups              State Politics
   Executive Politics                                 MPA Research Project
   Electoral Institutions                             Research Methods
   Voting Behavior and Representation
   State Government and Policy
   Honors Study and Travel: Washington, D.C.

Graduate Advising

  PhD Dissertation Co-chair for Karen Newsome
  PhD Dissertation Co-chair for Steven Nelson
  PhD Dissertation Committee Member for Catherine Cummings
  PhD Dissertation Committee Member for Jalonta Jackson
  PhD Dissertation Committee Member for Gregory Johnson
  PhD Dissertation Committee Member for Kara Newby
  PhD Dissertation Committee Member for Towanna Sears
  PhD Dissertation Committee Member for Lindsey Forson (completed Summer 2020)

  Masters Thesis Committee Member for Amanda Alva
  Masters Thesis Committee Member for Sabine Bailey
  Masters Thesis Committee Member for Thomas Moorman

Training and Facilitation

  October 2021. “Communications and Public Relations in Election Administration.”
  The Election Center CERA Training Program. Remote Delivery.

  July 2021. “Information Management and Security.”
  The Election Center CERA Training Program. Remote Delivery.

  July 2021. “Elections Administration as a System.”
  The Election Center CERA Training Program. Denver, CO.

  June 2021. “Communications and Public Relations in Election Administration.”
  The Election Center CERA Training Program. Virginia Beach, VA.

  May 2021. “Communications and Public Relations in Election Administration.”
  The Election Center CERA Training Program. Remote Delivery.

  April 2021. “The Constitutional Law of Elections.”
  The Election Center CERA Training Program. Remote Delivery.


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March 2021. “Voter Participation.”
The Election Center CERA Training Program. Remote Delivery.

March 2021. “History of Elections III: Pathways to Participation.”
The Election Center CERA Training Program. Remote Delivery.

February 2021. “Voter Participation.”
The Election Center CERA Training Program. Remote Delivery.

February 2021. “The History of Elections II: 1781 to 1964.”
The Election Center CERA Training Program. Remote Delivery.

July 2020. “Information Management and Security.”
The Election Center CERA Training Program. Remote Delivery.

July 2020. “Voter Participation.”
The Election Center CERA Training Program. Remote Delivery.

July 2020. “History of Elections III: Pathways to Participation.”
The Election Center CERA Training Program. Remote Delivery.

July 2020. “The Constitutional Law of Elections.”
The Election Center CERA Training Program. Remote Delivery.

May 2020. “The History of Elections II: 1781 to 1964.”
The Election Center CERA Training Program. Remote Delivery.

February 2020. “Redistricting and Election Administration.”
The Election Center CERA Training Program. Greenville, SC.

August 2019. “Redistricting and Election Administration.”
The Election Center CERA Training Program. Orlando, FL.

June 2019. “The History of Elections II: 1781 to 1964.”
The Election Center CERA Training Program. Denver, CO.

April 2019. “Courts, Constitutions, and Cases: Early America to 1965.”
The Election Center CERA Training Program. Virginia Beach, VA.

Alabama Secretary of State Registrar Training Program.
May 2021. Tuscaloosa, AL.

Alabama Secretary of State Registrar Training Program.
September 2019. Dothan, AL.




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Service

  Postdoctoral Fellow in Election Administration search committee (Spring 2020)
  Professor of Practice in Non-Profit Administration search committee (Spring 2021)
  Ad hoc committee on Departmental Bylaws
  Ad hoc committee on Tenure and Promotion
  MPA Core Faculty
  American Politics Comprehensive Exam Writer (Fall 2018–Spring 2021)
  American Politics Comprehensive Exam Grader (Fall 2018–Spring 2021)
  Political Methodology Comprehensive Exam Writer (Spring 2021)
  Political Methodology Comprehensive Exam Grader (Fall 2019–Spring 2021)
  Election Administration Comprehensive Exam Writer (Spring 2021)
  Election Administration Comprehensive Exam Grader (Spring 2021)

Media Contributions

  Blog Posts

  In 2020, Senate elections were nationalized elections. The Georgia runoffs could be too.
  LSE’s American Politics and Policy blog. with Jamie Carson. December 4, 2020.

  Why did Democrats lose seats in the 2020 elections?
  LSE’s American Politics and Policy blog. with Jamie Carson. November 12, 2020.

  Is gerrymandering “poisoning the well” of democracy?
  Oxford University Press blog. October 26, 2020.

  Polarization in the Senate isn’t going away.
  LegBranch.org blog. March 25, 2019.

  Taking the redistricting process out of the hands of state legislatures can mean more
  competitive US House elections. LSE’s American Politics and Policy blog. March 6, 2019.

  The story of the midterms is the triumph of the moderates – on both sides.
  LSE’s American Politics and Policy blog. with Jamie Carson. November 9, 2018.

  How the Dems Could Win the House in November.
  Newsweek. with Jamie Carson. February 2, 2018.

  Why taking moderate positions may help the Democrats to retake the House this fall.
  LSE’s American Politics and Policy blog. with Jamie Carson. February 1, 2018.

  This is how to get rid of gerrymandered districts. Monkey Cage, The Washington Post.
  with Michael Crespin, Maxwell Palmer, and Barry C. Edwards. March 17, 2017.

  Michelle Nunn’s midterm result shows that Georgia’s demographics may be shifting to favor the
  Democrats. LSE’s American Politics and Policy blog. with Jamie Carson and Joel Sievert.
  November 10, 2014.



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2014 Midterms: Key Issues in the Georgia Senate Race. The Brookings Institute.
with Jamie Carson. October 28, 2014.

In order to increase competition in U.S. House races, states should look to extra-legislative bodies
to redraw congressional boundaries. LSE’s American Politics and Policy blog. with Jamie Carson
and Michael Crespin. May 26, 2014.

Interviews

Katie Boyd Britt wants to solve the state’s problems, but is that what Alabama wants?
Interview with the Montgomery Advertiser. July 25, 2021.

“No Step Too High for a High-Stepper”: Gov. Kay Ivey Says She’s Running for Another Term.
Interview with the Birmingham Times. June 2, 2021.

Biden’s American Rescue Plan a Big Win, But Can Dems Capitalize?
Interview with the Birmingham Times. April 3, 2021.

What the 2020 election revealed about conservatism in the U.S.
Interview with Deseret News. December 2, 2020.

COVID-19 changed election rules in the South. Now activists see chance for reform.
Interview with The American South. December 1, 2020.

GOP advantages in rural Alabama grow even wider in Tommy Tuberville win.
Interview with Montgomery Advertiser. November 5, 2020.

Auburn University political science professor gives perspective on the election.
Interview with WSFA News 12 in Montgomery, AL. November 4, 2020.

Trump Sweeps Alabama, Tuberville Ousts Jones for Senate Seat.
Interview with Birmingham Watch. November 4, 2020.

Straight-party voters could doom Doug Jones in US Senate race against Tommy Tuberville.
Interview with AL.com October 30, 2020.

Election 2020: Why ‘convenience’ voting is controversial, even in a pandemic.
Interview with Deseret News. October 30, 2020.

The crisis may be a turning point! How will an epidemic that killed 230,000 lives change
the US presidential election? Interview with The World Today. October 29, 2020.

As Tommy Tuberville pitches to Republican base, Doug Jones tries to assemble a coalition.
Interview with Montgomery Advertiser. October 28, 2020.

With a Commanding Lead in Polls, Tuberville Shuns Media and Jones While Embracing Trump.
Interview with Birmingham Watch. October 27, 2020.




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Doug Jones Faces Long Odds in Keeping Alabama Senate Seat.
Interview with Wall Street Journal. October 26, 2020.

Ex-Auburn coach Tommy Tuberville’s race for US Senate seat short on substance, insiders say.
Interview with USA Today. October 22, 2020.

Republicans Aren’t Writing Off Doug Jones. Neither is Jones.
Interview with Bloomberg Government. October 8, 2020.

Plain Talk with Dr. Ryan Williamson
Interview with Eagle Eye TV. October 5, 2020.

Could fewer absentee voting restrictions affect Alabama’s election?
Interview with WHNT News 19 Huntsville, AL. September 17, 2020.

Alabama Democrats aim to be heard under new leadership.
Interview with AL.com. July 26, 2020.

Trends favor Tommy Tuberville in Senate election, but plenty of questions remain.
Interview with Montgomery Advertiser. July 17, 2020.

Alabama Senate Candidates Take Sharply Different Approaches to Rise in COVID-19 Cases.
Interview with Montgomery Advertiser. June 26, 2020.

Political Science Professor Looks at How the Coronavirus Pandemic Will Effect State &
Presidential Elections. Interview with WLTZ First News Columbus, GA. June 9, 2020.

Political Science professor examines pandemic’s effect on state, presidential elections.
Auburn University Expert Answers. May 21, 2020.

As Alabama reopens, will people wear masks?
Interview with AL.com. May 9, 2020.

¿Podrá Joe Biden sacar de la Casa Blanca a Donald Trump?
Interview with SEMANA Magazine. March 14, 2020.

Auburn Professor Talks Impeachment.
Interview with Eagle Eye TV. January 28, 2020.

‘Divided’: Auburn Reckons with Impeachment.
Interview with The Auburn Plainsman. January 23, 2020.

What’s next? Impeachment probe set to shift to Judiciary Committee.
Interview with Sinclair Broadcast Group. November 25, 2019.

Political science assistant professor discusses impeachment process.
Auburn University Expert Answers. November 15, 2019.




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  Ex-Coach, Scandal-Ridden Judge Jolt GOP in Pivotal Senate Race.
  Interview with Bloomberg Government. August 1, 2019.

  Price tag for Alabama elections: $111 million.
  Interview with Montgomery Advertiser. November 20, 2018.

  Alabama GOP Still Dominant Despite Challenges from Democrats.
  Interview with WBHM NPR. November 7, 2018.

  Alabama among 7 states allowing straight-ticket voting; That won’t soon change.
  Interview with AL.com. September 20, 2018.

Professional Memberships

  American Political Science Association
  Midwest Political Science Association
  Southern Political Science Association

Manuscript Reviewer

   American Political Science Review         American Journal of Political Science
   Journal of Politics                       Political Research Quarterly
   American Politics Research                Legislative Studies Quarterly
   State Politics & Policy Quarterly         Social Science Quarterly
   Congress & the Presidency                 Party Politics
   Journal of Political Science Education    Review of Economics and Statistics
   Open Journal of Political Science         Law & Policy
   Applied Geography                         Social Sciences
   Sustainability                            Administrative Sciences
   Healthcare                                Cambridge University Press
   Oxford University Press                   SAGE Publishing
   Rowman & Littlefield

Software Proficiency

  Stata, R, LATEX, Qualtrics

References

  Available upon request.




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